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                                                                                   2021 Jul-28 PM 05:07
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD )
ANTITRUST LITIGATION (MDL No. )
2406),                           )
                                 ) CIVIL ACTION NUMBER:
      Plaintiff,                 ) Master File No. 2:13-CV-20000-
                                 ) RDP
                                 )
________________________________ )

                   SELF-FUNDED SUBCLASS OBJECTORS’
           MOTION TO SUBMIT DOCUMENTS FOR IN CAMERA REVIEW

      The Self-Funded Subclass Objectors ServisFirst Bancshares, Inc., Employee

Services, Inc., and Topographic, Inc. move the Court to permit them to file certain

documents for review in camera.

      1.     Counsel for the Self-Funded Subclass Objectors have certain letter

agreements authorizing their engagement as counsel for the Self-Funded Objectors.

It is unclear to counsel for the Objectors whether the Long Form Notice approved

by the Court requires that documents merely reflecting the terms of their engagement

as counsel for Objectors must be submitted in support of the objection. See Long-

Form Notice at Question #14 (“Any agreements that relate to the objection or the

process of objecting between you, your counsel, and/or any other person or entity.”).

To the extent engagement-related documents are required, Counsel for the Self-

Funded Subclass hereby seek permission to file them for in camera review only and
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will then seek similar disclosure of all other engagement letters and fee agreements

between the parties to the proposed class settlement and their counsel. The exhibits

referenced by this paragraph are referred to as Exhibits 08A–E in support of

Objector’s objection.

      2.     No party will be prejudiced by this motion.

      3.     These documents represent communications between counsel and their

clients regarding counsel’s engagement by their clients. The only possible relevance

these documents could possess is to establish the absence of terms in the agreements

reflecting some improper purpose related to the Objection. The Court can satisfy

itself of the absolute absence of any such concern without the need to disclose these

documents to any party.

      For these reasons, the Self-Funded Subclass Objectors and their counsel ask

the Court to either confirm that their engagement of counsel documentation need not

be submitted, or in the alternative to grant this motion to file counsel engagement

documents for in camera review only.



                                                   Respectfully submitted,


                                                    /s/J. Thomas Richie
                                          One of the Attorneys for the Self-Funded
                                                     Subclass Objectors


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                         CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2021, the foregoing was electronically filed
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to all counsel of record.
      I further certify that on July 28, 2021, the foregoing was mailed to the
following recipients by United States Mail, First-Class Postage Prepaid:

Blue Cross Blue Shield Settlement       Blue Cross Blue Shield Settlement
c/o JND Legal Administration            c/o Michael D. Hausfeld
PO Box 91393                            HAUSFELD LLP
Seattle, WA 98111                       888 16th Street NW
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                                                     s/J. Thomas Richie
                                             One of the Attorneys for Objectors




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